Case 3:12-cv-00064. Document 37-1 Filed on 09/05/12 in TXSD Page 1 of 6

Records Obtained by Authorization
From Texas Department of Health - Bureau of Vital Statistics
1100 West 49th Street

Austin, TX 78756-3191

Pertaining to Raymond Luther Allen

For Anthony G. Buzbee

Nell McCallum & Associates, Inc.

19368.003

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AFFIDAVIT

Records Pertaining To: Raymond Luther Allen

Type of Records: The complete file, including but not limited to the preliminary death certificate, final death certificate,
accompanying transmittal documents, etc. in the possession of or subject to the control of the witness pertaining to
Raymond Luther Allen, DOB: 08/30/1977, DOD: 2/29/2012.

Before me, the undersigned authority, personally appeared (era /: ine ke He mds ;
who, being by me duly sworn, deposed as follows: (Custodian of Records)

My name is Cera lad ec K Ha kegs , 1 am over eighteen (18) years of age, of sound

mind, capable of making this affidavit, and personally acquainted with the facts herein stated:

I am the Custodian of Records for: Texas Department of Health - Bureau of Vital Statistics

Attached hereto are / pages of records pertaining to Raymond Luther Allen from this facility. These said records are
kept in the regular course of business, and it was the regular course of business for an employee or representative of this facility,
with knowledge of the act, event, condition, opinion, or diagnosis, recorded to make the record or to transmit information thereof
to be included in such record; and the record was made at or near the time or reasonably soon thereafter. The records attached
hereto are the original or exact duplicates of the original.

4 (i)

aatet of RecordsY x.

of “we
Sworn to and subscribed before me on the / 7 day of , 5 Une , 20 / 2 ‘
Chucte C C www
| Ge CHRISTI C. CUNNINGRAG NOTARY PUBLIC J
oe: Comission Gxpires:
LAA EOAS FE My Commission Expires: Ap Alaa %

Order No. 19368.003
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I, Katherine R. Keath, a Notary Public in and for the State of Texas, do hereby certify that
the foregoing Testimony of the Witness, Geraldine R. Harris, after said witness was duly sworn

by Christi C. Cunningham was delivered to Nell McCallum & Associates, Inc.

I further certify that said Original Answers are being delivered to Anthony G. Buzbee, the
requesting attorney, for safekeeping and use at trial.

Given under my hand and seal of office on June 5, 2012 .

Notary Public

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KATHERINE R. KEATH
Notary Public, State of Texas
My Commission Expires
May 07, 2016

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Nell McCallum & Associates, Inc.
Beaumont/Houston, Texas

19368.003
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Nell McCallum & Associates, Inc.
has verified that these records are complete

and the best possible quality
vs VY

vii), Aeeresreraer rane earn

DEPARTMENT OF STATE HEALTH SERVICES
VITAL STATISTICS UNIT

TEXAS DEPARTMENT OF STATE HEALTH SERVICES - VITAL STATISTICS
AR 12 2012

STATE OF TEXAS CERTIFICATE OF DEATH STATE FILE NUMBER ~ 1 42-1 2-028487

1. LEGAL NAME OF DECEASED (include AKA's, if any) (First, Middle, Last) (Maiden) 2. DATE OF DEATH-ACTUAL OR PRESUMED
' (mm-dd-yyyy)

RAYMOND LUTHER ALLEN Ill FEBRUARY 29, 2012

3. SEX 4. DATE OF BIRTH (mm-dd-yyyy) _[5. AGE-Last Birthday 6. BIRTHPLACE (City & State or Foreign Country)

7 (Years) Mo
MALE GALVESTON, TX

[MALE | _ AUGUST 30, 1977
7. SOCIAL SECURITY NUMBER 8. MARITAL STATUS AT TIME OF DEATH 9. SURVIVING SPOUSE'S NAME (If wife, give name prior to first marriage)

TE-UNDER 1 DAY
Hours

YR
Days

Min

Married

oO Widowed Oo Divorced Oo Never Married Oo Unknown
XXX-XX-XXXX
10a. RESIDENCE STREET ADDRESS

SABRINA JAMES
10d. APT. NO.--— | 106. CITY OR TOWN

7812 SYCAMORE LANE
10d. COUNTY

GALVESTON

10g. INSIDE CITY LIMITS?

El Yes 1 No

10e. STATE 10f, ZIP CODE

GALVESTON
11. FATHER'S NAME

TEXAS 77551
12; MOTHER'S NAME PRIOR TO FIRST MARRIAGE

?
RAYMOND LUTHER ALLER JR RITA SIMPSOM

13, PLACE OF DEATH (CHECK ONLY ONE)
IF DEATH OCCURRED IN A HOSPITAL: IF DEATH OCCURRED SOMEWHERE OTHER THAN A HOSPITAL:

Inpatient - [[] ErvOutpatient. [E] oa [1 Hospice Facility [[] Nursing Home [] Decedent's Home  [[] Other (Specity)
14. COUNTY OF DEATH 15. CITY/TOWN, ZIP (IF OUTSIDE CITY LIMITS, GIVE PRECINCT NO) NE: FACILITY NAME (If not institution, give street address)
: UNIVERSITY OF TEXAS MEDICAL BRANCH AT

GALVESTON
NT (Street and Number, City,State,Zip Code)

GALVESTON '| GALVESTON, 77555
17. INFORMANTS NAME & RELATIONSHIP TO DECEASED

18. MAILING ADDRESS OF INFORM.

TEXAS DEPARTMENT OF STATE HEALTH SERVICES - VITAL STATISTICS UNIT

SABRINA ALLEN - WIFE

7218 SYCAMORE LANE, GALVESTON, TX-77551

19. METHOD OF DISPOSITION

2) Buriat G1 cremation
Oo Entombment
[1 other (Specity)

Oo Removal from state

20. SIGNATURE AND LICENSE NUMBER OF FUNERAL DIRECTOR OR PERSON
ACTING AS SUCH

Oo Donation -
/

EDDIE R. JOHNSON ,BY_ ELECTRONIC SIGNATURE - 9250

Unknown

LAKEVIEW CEMETERY.

22. PLACE OF DISPOSITION (Name of cemetery, crematory, other place)

23. LOCATION (City/Town, and State)

GALVESTON, TX

Space

24. NAME OF FUNERAL FACILITY. 25: COMPLETE ADDRESS OF FUNERAL FACILITY (Street and Number, City, State, Zip Code)

\

FIELDS-JOHNSON FAMILY MORTUARY
26. CERTIFIER (Check only one)

CJ Certifying physician-To the best of my knowledge, death occurred due to the cause(s) and manner stated.
Medical Examiner/Justice of the Peace - On the basis of examination, and/or investigation, in my opinion, death occurred at the time,date and place,’ and due to the cause(s) and manner stated.

27.SIGNATURE OF CERTIFIER 28. DATE CERTIFIED (mm-dd-yyyy)_[29. UCENSE NUMBER — 30. TIME OF DEATH(Actual or presumed)
03:33 PM

NOBBY C. MAMBO, M.D. , BY ELECTRONIC
32. TITLE OF CEATIFIER

3828 AVENUE O, GALVESTON, TX 77550

SIGNATURE
31. PRINTED NAME, ADDRESS OF CERTIFIER (Street and Number, City,State,Zip Code)

MARCH 9, 2012 K8320

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| NOBBY C. MAMBO, M.D. 6607 HIGHWAY-1764, TEXAS CITY, TX 77591 DEPUTY CHIEF M.
33. PART 1, ENTER THE CHAIN OF EVENTS - DISEASES, INJURIES, OR COMPLICATIONS - THAT DIRECTLY CAUSED THE DEATH. DONOT ENTER Approximate interval

TERMINAL EVENTS SUCH AS CARDIAC ARREST, RESPIRATORY ARREST, OR VENTRICULAR FIBRILLATION WITHOUT SHOWING THE Onset to death
ETIOLOGY. DO NOT ABBREVIATE. ENTER ONLY ONE CAUSE ON EACH.

IMMEDIATE CAUSE (Final
disease or condition ----—>
resutting in death) a.

WARNING

PENDING

Due to (or as a consequence of):

Sequentially list conditions,

if any, leading to the cause
listed on line a. Enter the
UNDERLYING CAUSE
(disease or injury that
initiated, the events resulting
in death) LAST

making a false
atine a to $10,000. (Health and Safety Code, Sec. 195, 1989)

Due to (or as a consequence of):

CAUSE C OF DEATH

Due to (or.as a consequence of):

d. .
SIGNIFICANT CONDITIONS CONTRIBUTING TO DEATH

ENTER OTHER

T 2. BUT NOT RESULTING IN THE UNDERLYING
CAUSE GIVEN IN PART I.

34. WAS AN AUTOPSY PERFORMED?
Yes [1no
35, WERE AUTOPSY FINDINGS AVAILABLE TO
COMPLETE THE CAUSE OF D
ol Yes [J No

39. IE TRANSPORTATION INJURY,
SPECIFY:

The penalty for

37. DID TOBACCO USE CONTRIBUTE | | 38. IF FEMALE:
TO DEATH?

0 ves

01 no

O Probably
[2] unknown -

36. MANNER OF DEATH
Oo Natural
Accident
OO suicise
(] Homicide
Pending Investigation
8 Could not be

40a, DATE OF INJURY(mm-dd-yyyy)

oO Not pregnant within past year

oO Pregnant at time of death

Oo Not pregnant, but pregnant within 42 days of death

Oo Not pregnant, but pregnant 43 days to one year before death
O Unknown if pregnant within the past year

(1 Driver/Operator
Passenger

(1 Pedestrian

LD other (Specity)

40D. TIME OF INJURY. 's home, site,

40¢. INJURY AT WORK?.

oO Yes oO No

40d. PLACE OF INJURY (é.g, Di wooded area)

~N :
40e. LOCATION (Street and Number, City,State,Zip Code) 401. COUNTY OF INJURY

QS Ay OwdO 52 223° 2>0

41. DESCRIBE HOW.INJURY OCCURRED

42a, REGISTRAR FILE NO. 42b. DATE RECEIVED BY LOCAL REGISTRAR 42c: REGISTRAR

CCU
WAM ay,

STATE Ng
a

VS-112 REV 1/2006

REGISTRAR - GALVESTON COUNTY HEALTH DISTRICT,
02-0318 MARCH 12, 2012 ELECTRONICALLY FILED

EDR NUMPRS igoeptieenss and correct reproduction of the original record as recorded in this office. Issued under
authority of Section 191.051, Health and Safety Code.

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GERALDINE R. HARRIS
STATE REGISTRAR

Cpa yyy yy 1h

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WARNING: THIS RPRYVEN DASA DARK BLUE BORDER AND A COLORED BACKGROUND

Out

Needy

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THE BUZBEE LAW FIRM
JPMorgan Chase Tower
600 Travis, Suite 7300
Houston, Texas 77002
713-223-5393
713-223-5909 (Fax)

Authorization For Use or Disclose Protected Health Information

As required by the Health Information Portability and Accountability Act of 2003 (HIPAA) and Texas Law; this practice
may not use or disclose your individually identifiable health information except as provided in our Notice of Privacy
Practices without your authorization. Your completion of this form means that you are giving permission for the uses and
disclosure described below. Please review and complete this form carefully. It may be invalid if not fully completed.
You may wish to ask the person or entity you want to receive your information to complete the sections detailing the
information to be released the purposes for the-disclosure.

I hereby woop fal Pag Vai and disclose health
information concerning: (Patient Name) /LAYMONOD Ku eC JLELLEN

Address:

re Any and all health information, including, but not limited to, itemized billing, mental health records, drug
and/or alcohol abuse records and/or HIV test regults, if any, exce spt as specifically provided below: if t

Ws bas me Mh Vyurh i\O \) ULEL “ty ras Dre evynans cea a)
Ming) Beet Contibient ecenoncgig amdmsttall che
|v’! All psychotherapy notes may be released except as specifically provided below: BB Lt a a yy
eB & }3

ppt
This health information may be disclosed to: THE BUZBEE LAW FIRM bff Wet. ME mf ¥, Wh MIE

This information may be used only for the following purposes: LEGAL LITIGATION

I understand that I may revoke this authorization at any time notifying this medical practice in writing. My revocation
will not affect actions taken by this medical practice prior to its receipt.

T understand that if neither federal nor Texas privacy law apply to the recipient of this information, the information
disclosed pursuant to this authorization may be re-disclosed by the recipient and no longer protected by federal law.

T understand that my health care treatment or benefits will not be affected whether I sign or do not sign this form and ]
have the right to receive a copy of this authorization.

This authorization is effective now and will remain effective until Ld OF AMT CA 7700

: (Expiration Event or Date)
sma NOK (We Dated: 4G iY
Print Name: Sa bn NG
DOB: GZ —T] “ SN: Ue i> HY? Tk TE

If not signed by the patient, Relationship: L ParentOr Guardian Ok Guardian/Conservator of incompetent patient Hf
eneficiary or Personal Representative of deceased patient
SSN:

amet Vu mand Luthor Mien Dole 8 2d)97 {=
J 5

Te
NOTE: A Photocopy of This HIPAA Shall Have The Same Effect As An Original x 5A ‘Zs

“
